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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MARYLAND
                                        Southern Division                                       i.,~/,!JR25            0g

                                                            *
CASA DE MARYLAND, INC, ef {I/.,
                                                            *
         Plaintiffs,                                                      Case No.: G.JH-18-8~5
                                                            *
v.
                                                            *
DONALD.I. TRUMP, ef (1/.,
                                                            *
         Defendants.
                                                            *
*        *        *        *         *        *        *        *         *       *         *        *

                                         MEMORANDUM OPINION

         On March 23. 2018. Plaintiffs Casa de Maryland. Inc. and Jose E. Guevara. Juan

Rodriguez. and Luis Andrade (collectively. "Individual Plaintiffs") tiled an action seeking to

eJ~oin the United States Government thlm terminating EI Salvador's designation as a Temporary

Protected Status ("TPS") country. alleging that the Government's decision to do so violates the

Equal Protection Clause and Substantive Due Process provisions of the Filih Amendment. U.S.

Cons\. amend. V. the Immigration and Nationality Act. 8 U.S.c.                 ** 1101-1537. and the
Administrative Procedure Act. 5 U.S.c.            ** 701-706.       Pending bef(lre the Court is Individual

Plaintiffs' unopposed! Motion t()r Permission to Omit Their Home Addresses from Caption. ECF

NO.2. No hearing is necessary. Loe. R. 105.6 (D. Md. 2016). For the j()lIowing reasons.

Plaintiffs' Motion is granted.




I Counsel for the respective Defendants have not yet entered appearances    or responded to the Complaint, and their
time to do so has not elapsed. Defendants Illay seek reconsideration of this Order within l.t days of their initial
responsive pleading if they choose.
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I.           DISCUSSION

             Individual Plaintiffs request that the Court redact their home addresses and counties of

residence trom the publically-filed version of their Complaint, fearing that they "would tllce a

real risk of harassment or retaliation" ifsuch int(JI"Illationwas made publically available. ECF

NO.2 at 1_2.2 This Court's Local Rules require that complaints "shall contain the names and

address of all parties and the county of residence of any Maryland party:' See Loc. R. 102.2(a)

(2016). Similarly. the Federal Rules olTivilProcedure                   require that the identities of the parties to

a case be disclosed. See Doe \".Public CilizeI7, 749 F.3d 246.273 (4th Cir. 2014) (citing Fed. R.

Civ.P. 10(a)). These requirements serve the public's important interest in open judicial

proceedings: however. "in exceptional circumstances, compelling concerns relating to personal

privacy or confidentially may warrant some degree of anonymity in judicial proceedings:' Sec

it!. The Fourth Circuit has set forth the following nonexclusive factors for district courts to

consider when weighing the need for open judicial proceedings against a litigant's concern !(Jr

pnvacy:

             Whether the justification asserted by the requesting party is merely to avoid the
             annoyancc and criticism that may attend any litigation or is to preserve privacy in
             a matter of sensitive and highly personal nature: whether identification poses a
             risk of retaliatory physical or mental harm to the requesting party or even more
             critically, to innocent nonparties: the ages of the person whose privacy interests
             are sought to be protected: whether the action is against a governmental or private
             party: and, rclatedly, the risk of un!llirness to the opposing party lI'om allowing an
             action against it to procced anonymously .




.:!   Pin cites to documents   tiled on the Court's electronic filing system (CMIECF) refer to the page numbers generated
by     that system.

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See ill. (citing James           I'.   Jaco!J.I'oll, 6 F,3d 233. 238 (4th Cir. 1993)):1 The Court tinds that these

factors weigh in favor of allowing                    Individual    Plaintiffs     to omit their addresses        and counties of

record Irom the publieally-liled                    version of their Complaint.

           Individual        Plaintiffs      do not seck to hide their addresses             and countries       of record li'om

public view merely to escape the ridicule and harassment                              that may be associated           with tiling suit

against the Government.                  See Pllhlic Citizell. 749 F.3d at 274-75                 (citing Jacohsoll.    6 F.3d at 238

(plaintiffs      may not use a pseudonym                 to prevent reputational         or economic        interests or "merely to

avoid the annoyance             and criticism         that may attend ...         litigation").     Rather. Individual      Plaintiffs

suggest that ..there is considerable                  public animus against immigrants.                and their safety could be

compromised          if the public were allowed to know their home addresses                             and counties of

residence,"       ECF NO.2 at 2. While Individual                   Defendants'        Complaint       alleges that the

Government's          decision         to rescind EI Salvador's           TPS designation         is motivated    by bias against

Latino immigrants.            ECF No. 1 ~ 56. their exposure                 to threats of violence.        at present. is only

speculative.       However.            Individual    Plaintiffs'   fears associated       with making their addresses

publieally       available     in a case challenging           the rescission       of their lawful immigration           status are

nonetheless        legitimate.         See Doe \'. Stegall. 653 F.2d 180. 186 (5th Cir. 1981) (threats of violence

generated        by this case, in conjunction              with the other lac tors weighing             in Illvor of maintaining

r plaintiffs']     anonymity.           tip the balance against the customary              practice of judicial        openness):   see

a/so lIi.ljJlmic Ill/crest Coalitioll               orA/ahama      I'.   GO\'CI"IlOrorA/ahama,          69\ F.3d 1236. 1247 (II th

Cir. 2012) (noting that revealing                   illegal immigration          status could expose one to harassment              and

inti m idation).



:; Both Jacohson and PuNic Cili:ell considered whether a litigant may proceed under a pseudonym. not whether a
litigant may redact his or her address of record. While disclosure ora litigant's address docs not impose the same
burden on the opellness of judicial proceedings as the use of a pseudonym does. the Court finds ./acobson and Puhlic
Cili:c!11 instructive.

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         On the other hand. the countervailing                    public interest in disclosing         Individual       Plaintiffs'

addresses      is slight and does not justify exposing                  them to the risk of excessive        harassment          or

violent reprisals.            While the public has an interest in knowing the names of the litigants. an

intercst further heightened              because     Individual       Plaintiffs sued the Government.          !'uhiic     Ci/izl!l1.


749 F.3d at 273. Individual               Plaintiffs'     addresses     and counties of record are of minimal import to

furthering      the openness         of judicial    proceedings.4

         The Court has not evaluated                    the merits of Plaintiffs'    claims. but it is unclear how

Individual       Plaintiffs'       addresses   will be relevant to any questions             of law or fact that the Court

must resolve. SI!I! id (citing Fl!lI1l!dl!l!I" \'. //(1/111.227 F.3d 1244. 1246 (10th Cir. 2000) (noting

that ..the public has an important                 interest in access to legal proceedings.           particularly       those

attacking      ...     properly enacted legislation"));           sel! a/so /11/I!rJ/a/iol1a/ Refi/!!.I!I! ilssis/al1cl!     !'rojl!c/      v.

7/-{ol1p. No. TDC-17-0361.                2017 WL 818255. at *3 (D. Md. Mar. 1. 2017) (..the public interest in

the identity of the [plaintiITs] is reduced because the claim is a pure legal challenge                                  [to the

Government            action] such that the individual            plaintifTs play only a minor role in the litigation.").

            Furthermore.          the Court has no basis to conclude            that allowing      the Individual         Defendants

to proceed with their addresses                shielded      from public view will prejudice           the Government              in any

way.; ()." ROI!         I'.   CVSCarell/ark     Corp .. No. 4:13-cv-3481-RBH.                2014 WL 12608588.             at *3

(D.S.C. Sept. 11. 2014) (allowing                   plaintiff to proceed under pseudonym              would prejudice

defendants           because they may not be able to lully respond to the complaint                      due to the uncertainty

ofplaintifrs          identity and unfamiliarity           with the background        giving rise to the suit). And unlike

private parties. the Government                 is not vulnerable        to the reputation    and economic        harm associated


, Notably. only the Local Rules. nOllhe Federal Rules of Civil Procedure. require plaintiffs to provide their address
and counlv of record.
5 Individu~1 PlaintitTs' do not oppose providing their addresses and counties of residence to the Government under

protective order. ECF NO.2 at 3.


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with having a suit tiled against it such that the Court would need to require full disclosure of a

plaintiffs   identity in the interest of fairness. Internationul R~fi/gee Assistance 1'1"l!;ect,2017 WL

818255 at *3 (citing S. Methodist Unil'. Ass 'n/!I"Wolllen Loll' Students   1'.   Wynne & Jatfe. 599

F.2d 707, 713 (5th Cir. 1979)). Thcrefore. the Court concludes that Individual Plaintifl's' nced to

conceal their addresses and counties of records weighs against the need lor such inlonnation to

be publically disclosed.

II.      CONCLUSION

         For the loregoing reasons. Individual PlaintilTs' Motion lor Permission to Omit their

Home Addresses from Caption. ECF NO.2. shall be granted. A sepa,rate Order lollows.


Dated: April Z22018                                               ~4-
                                                                 GEORGE J. HAZEL
                                                                 United States District Judge




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